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07                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
08                                     AT SEATTLE

09 UNITED STATES OF AMERICA,              )
                                          )
10               Plaintiff,               )            Case No. CR08-135-RAJ
                                          )
11         v.                             )
                                          )
12   ROBERT JAMES PETERSON,               )            DETENTION ORDER
                                          )
13               Defendant.               )
     ____________________________________ )
14

15 Offenses charged:

16
             Count 1:      CONSPIRACY TO IMPORT MARIJUANA, in violation of 21 U.S.C.
17                         §§ 952(a) and 960(a)(1), 960(b)(2)(G) and 963

18           Count 2:      CONSPIRACY TO DISTRIBUTE MARIJUANA, in violation of 21
                           U.S.C. §§ 841(a)(1), 841(b)(1)(B), and 846
19
             Count 3:      IMPORTATION OF MARIJUANA, in violation of 21 U.S.C. §§
20                         952(a), 960(2)(G) and 18 U.S.C. § 2

21 Date of Detention Hearing:      May 29, 2009

22           The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

23 based upon the factual findings and statement of reasons for detention hereafter set forth,

24 finds:

25          FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

26           (1)    Pursuant to 18 U.S.C. § 3142(e), there is a rebuttable presumption that


     DETENTION ORDER                                                                        15.13
     18 U.S.C. § 3142(i)                                                                 Rev. 1/91
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01               defendant is a flight risk and a danger to the community based on the nature of

02               the pending charges. Application of the presumption is appropriate in this

03               case.

04         (2)   Defendant is a Canadian citizen with no ties to this jurisdiction.

05         (3)   The strength of evidence is the least important factor when considering

06               detention, but evidence is strong. Defendant is charged with importation of

07               over 450 pounds of marijuana.

08         (4)   Canadian authorities identify defendant as a transporter for gang drug

09               smuggling. There is evidence that suggests that he could have been doing the

10               same thing when arrested. In addition, these connections provide strong

11               incentive for non-appearance as required.

12         (5)    There are no conditions or combination of conditions other than detention that

13               will reasonably ensure the appearance of the defendant.

14         IT IS THEREFORE ORDERED:

15         (1)   Defendant shall be detained pending trial and committed to the custody of the

16               Attorney General for confinement in a correctional facility separate, to the

17               extent practicable, from persons awaiting or serving sentences or being held in

18               custody pending appeal;

19         (2)   Defendant shall be afforded reasonable opportunity for private consultation

20               with counsel;

21         (3)   On order of a court of the United States or on request of an attorney for the

22               government, the person in charge of the corrections facility in which defendant

23               is confined shall deliver the defendant to a United States Marshal for the

24               purpose of an appearance in connection with a court proceeding; and

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26


     DETENTION ORDER                                                                       15.13
     18 U.S.C. § 3142(i)                                                                Rev. 1/91
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01         (4)   The Clerk shall direct copies of this Order to counsel for the United States, to

02               counsel for the defendant, to the United States Marshal, and to the United

03               States Pretrial Services Officer.

04         DATED this 29th day of May, 2009.

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                                                       A
                                                       JAMES P. DONOHUE
                                                       United States Magistrate Judge
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     DETENTION ORDER                                                                       15.13
     18 U.S.C. § 3142(i)                                                                Rev. 1/91
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